     Case 4:19-cv-07123-PJH Document 45-13 Filed 04/02/20 Page 1 of 2




 1   JOSEPH N. AKROTIRIANAKIS (Bar No. 197971)
      jakro@kslaw.com
 2   AARON S. CRAIG (Bar No. 204741)
      acraig@kslaw.com
 3   KING & SPALDING LLP
     633 West Fifth Street, Suite 1700
 4   Los Angeles, CA 90071
     Telephone:    (213) 443-4355
 5   Facsimile:    (213) 443-4310

 6   Attorneys for Defendants NSO GROUP TECHNOLOGIES
     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7

 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                    OAKLAND DIVISION
11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              DECLARATION OF NACHUM FALEK
13                                             IN SUPPORT OF DEFENDANTS’
                 Plaintiffs,                   MOTION TO DISMISS UNDER RULES
14                                             12(B)(1), 12(B)(2), 12(B)(6), AND 12(B)(7)
           v.
15                                             Date:   May 13, 2020
     NSO GROUP TECHNOLOGIES LIMITED            Time:   9:00 a.m.
     and Q CYBER TECHNOLOGIES LIMITED,
16                                             Ctrm:   3

17               Defendants.                   Action Filed: 10/29/2019

18

19

20

21

22

23

24

25

26

27

28


      DECLARATION OF NACHUM FALEK                                  Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH Document 45-13 Filed 04/02/20 Page 2 of 2




 1          I, Nachum Falek, declare as follows:

 2          1.      I am a citizen and resident of Israel. I am the Chief Financial officer of NSO

 3 Group Technologies Limited (“NSO”). I have personal knowledge of the facts set forth herein.

 4          2.      Attached hereto as Exhibit 1 is an Independent Accountant’s Report prepared by

 5 Kost Forer Gabbay & Kasierer, a member of Ernst & Young Global (“EY”). EY regularly

 6 audits the books and records of NSO by performing audits and agreed upon procedures. When

 7 EY completes its various audits and agreed upon procedures for NSO, it prepares reports of the

 8 type attached hereto as Exhibit 1.

 9          3.      The Independent Account’s Report attached as Exhibit 1 is a record of an

10 event—the agreed upon procedures described in Exhibit 1. The report was made at or near the

11 time of the agreed upon procedures by the EY accountants who conducted the agreed upon

12 procedures and who had knowledge of their own work.

13          4.      EY prepared the report attached hereto as Exhibit 1 (and all other reports of a

14 similar type) as part of its regularly conducted activities of auditing the books and records of

15 NSO, and NSO keeps the report attached hereto as Exhibit 1 (and all other reports of a similar

16 type) in the course of NSO’s regularly conducted activities of operating its business.

17          I declare under the penalty of perjury and the laws of the United States that the

18 foregoing is true and correct this 2d day of April 2020, at Herzliya, Israel.

19

20

21                                            Nachum Falek
22

23

24

25

26
27

28

      DECLARATION OF NACHUM FALEK                    1                       Case No. 4:19-cv-07123-PJH
